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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-20124-CR-GAYLES

   UNITED STATES OF AMERICA

   v.

   JASON WAGNER,

          Defendant.
                                         /


                                      STAY AWAY ORDER

          THIS CAUSE came before the Court pursuant to Defendant’s Motion for Status

  Conference and Motion to Expedite Trial. [ECF No. 30]. The Indictment charges Defendant with

  one count of Sex Trafficking by Force and Coercion, in violation of 18 U.S.C. § 1591. [ECF No.

  6]. In his Motion, Defendant requests that the Court expedite his trial based on alleged

  misrepresentations by the Government regarding its need for a trial continuance. In its Response

  to the Motion [ECF No. 32], the Government denies making any misrepresentations to the Court

  or defense counsel and noted that Defendant has repeatedly contacted the alleged victim from the

  Federal Detention Center in an effort to get her to drop the charges against him. [ECF No. 32 at

  4–5].

          Having considered the foregoing and the arguments presented by counsel, the Court finds

  that no misrepresentations were made by the Government and that the last Order granting a trial

  continuance [ECF No. 29] was proper. The Court further finds good cause to issue a temporary

  order prohibiting Defendant from contacting the alleged victim. Therefore, it is

          ORDERED and ADJUDGED that Defendant Jason Wagner shall have no contact, by

  telephone or otherwise, with the person identified in the Indictment as “Victim 1” until further


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  order of the Court. This stay away Order shall not apply to defense counsel.

         DONE AND ORDERED in Chambers at Miami, Florida, on September 30, 2022.




                                                           _______________________________
                                                           DARRIN P. GAYLES
                                                           U.S. DISTRICT JUDGE
  cc:    counsel of record




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